Case 24-50792-hlb Doc 1587 Entered 02/05/25 13:28:40 Page 1 of 4

NVB 3001 (Rev. 12/24)

UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF NEVADA

Name of Debtor:

[Weta Mucerss , ls u

1, Name and address of holder of the Equity Interest
(the person or entity holding an Equity Interest in the

Debtor. Referred to hereinafter as the “Interest

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Cronk City 1th gi LOY

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Telephone Number:

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Case Number:
- $6742 -htb

2 S014 ane
O Check box if you are aware that
anyone else has filed a proof of
interest relating to your interest. RECEIVED
Attach copy of statement giving AND FILED
particulars.

“ER A:

SBiUCheck box if you have never FEB t 4 2025

i ti ?
received any notices from th Ls ie ANKRUPTCY cou
bankruptcy court or the Debtors, Aa ar}
O Check box if this address
differs from the address on the. Lo
envelope sent to you by the
Debtors. COURT USE ONLY

security, (b) interest ofa limited’ partner i ina limited partnershi
purchase, sell, or subscribe to a share, Security, or interest of 3

NOTE: This form SHOULD NOT be used to make a claim: ‘against the Debtor for monéy owed:'A- separate. Proof-of Claim.
form should be used for that purpose. This form.should only be: used to assert an Equity Interest in’ the Debtor. ‘An Equity -
Interest is any right arising: from any capital stock and any equity sécurity in any-of the Debtor. An equity security is defi ned
in the Bankruptcy Code as (a) a share in a corporation. whethér or not transferable or’ denominated stock or similar - .
Or (6) warrant or Tight, other than’ a right | to convert, to,
x ecified in, subsection @ ° (b 2 me

Account or other number by which Interest holder identifies Debtor (last 4

digits ve 7 ¢ ; 2

“Check here if this Proof of Interest:
CO replaces a previously filed Proof of Interest dated:
0 amends a previously filed Proof of Interest dated:

2, Name and Address of any person or entity that is the record 3. Date Equity Interest was acquired:

holder for the Equity Interest asserted in this Proof of

Interest:
Telephone Number:
4. Total amount of member interest: 20 O80 5. Certificate number(s):
6. Type of Equity Interest:

Please indicate the type of Equity Interest you hold:

Check this box if your Equity Interest is based on an actual member interest held in the Debtor.

0 Check this box if your Equity Interest is based on anything else and describe that interest:
Description:
7, Supporting Documents: Attach copies of supporting documents, such as stock certificates, option agreements, warrants, etc.

-|-— -DONOTSEND-ORIGINAL DOCUMENTS. If the documents are not available, explain. Ifthe documents are voluminous, attach a summary.

8.

copy of this Proof of Interest.

Date-Stamped Copy: To receive an acknowledgement of the filing of. your Proof of Interest, enclose a stamped, self-addressed envelope and

9. Signature:
Check the appropriate box.

§&1 am the interest holder. |

Print Name: vars

mM ichoe|
Title: CPR

Company:__ Address and telephone number (if different from notice
address above):

Cj Lam the interest holder’s authorized agent.
(Attach copy of power of attorney, if any.)

OI am the trustee, or the debtor,

or their authorized agent.
(See Bankruptcy Rule 3004.)

Oj I am a guarantor, surety,
endorser, or other
codebtor.
(see Bankruptcy Rule 3005.)

I declare under penalty of perjury that the information provided in this proof of interest is true and correct to the best of my knowledge, information, and reasonable belief.

MOLE theshs

(Signature) (Date)

oS

Telephone number: \ ( LU 2 WY email: jue ‘fe eticha ugues. C
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Penalty for presenting fraudulent claim is a fine of up to $500,000 or imprisonment for up to 5 years, or both, 18 U.S.C. §§ 152 AND 3571

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Honorable Hilary L. Barnes
United States Bankruptcy Judge
Hon Docket Oo

Decdmber 19, 2024

5.

- UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEVADA
In re: Case No. 24-50792-hib
META MATERIALSINC., =. - Chapter? - TS
ORDER DIRECTING THE CLERK

OF COURT TO ACCEPT ALL
Debtor. PROOFS OF INTEREST

Parties who intend to file Proofs of Interest in the above-captioned bankruptcy case of
Meta Materials Inc. must use the Court’s local form, which is available on the Court’s

website at https:/Avww.nvb.uscourts.gov/rules-forms/forms/local-forms/.

Parties who file Proofs of Interest should not include their full account number or any
other personal identifiable information (“PII”), and if they do so, it is incumbent on them to

redact such PII as set forth in Local Rule 9037(b) (which can be found on the Court’s website

| at https://www.nvb.uscourts.gov/downloads/rules/local-rales-2021 final pdf).

The Clerk of Court is directed to (i) process and docket all filed Proofs of Interest
regardless of any deficiencies contained therein and (ii) include specific language regarding
such deficiencies, if any, in the docket text.

DATED AND SIGNED ABOVE. -
Copy sent via CM/ECF Electronic Notice and BNC
Hitt

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ANDREA J. DRIGGS

2525 EAST CAMELBACK ROAD
SUITE 500

PHOENIX, AZ 85016

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MICHAEL GRAVES

4559 HAMILTON BLVD

SIOUX CITY, IA 51104-1142

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SIOUX FALLS SD 570
FROM 51103

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45371 Villa Ave.

Sioux City. tA 81103.

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